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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on September 15, 2022

UNITED STATES OF AMERICA : CRIMINAL NO. 22-cr-244 (TNM)

v.
: VIOLATIONS:
HATCHET SPEED, : 180U.S.C. §§ 1512(c)(2), 2
: (Obstruction of an Official Proceeding)
Defendant. > 18 U.S.C. § 1752(a)(1)
: (Entering and Remaining in a Restricted
Building or Grounds)
18 U.S.C. § 1752(a)(2)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)
40 U.S.C. § 5104(e)(2)(D)
(Disorderly Conduct in
a Capitol Building)
40 U.S.C. § 5104(e)(2)(G)
(Parading, Demonstrating, or Picketing in
a Capitol Building)

INDICTMENT

The Grand Jury charges that:

COUNT ONE
On or about January 6, 2021, within the District of Columbia and elsewhere, HATCHET
SPEED attempted to, and did, corruptly obstruct, influence, and impede an official proceeding,
that is, a proceeding before Congress, specifically, Congress’s certification of the Electoral College
vote as set out in the Twelfth Amendment of the Constitution of the United States and 3 U.S.C. §§
15-18.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)
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COUNT TWO
On or about January 6, 2021, in the District of Columbia, HATCHET SPEED, did

knowingly enter and remain in a restricted building and grounds, that is, any posted, cordoned-off,
and otherwise restricted area within the United States Capitol and its grounds, where the Vice

President was and would be temporarily visiting, without lawful authority to do so.

(Entering and Remaining in a Restricted Building, in violation of Title 18, United States
Code, Section 1752(a)(1))

COUNT THREE

On or about January 6, 2021, in the District of Columbia, HATCHET SPEED, did
knowingly, and with intent to impede and disrupt the orderly conduct of Government business and
official functions, engage in disorderly and disruptive conduct in and within such proximity to, a
restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area
within the United States Capitol and its grounds, where the Vice President was and would be
temporarily visiting, when and so that such conduct did in fact impede and disrupt the orderly

conduct of Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building, in violation of Title 18,
United States Code, Section 1752(a)(2))

COUNT FOUR

On or about January 6, 2021, in the District of Columbia, HATCHET SPEED, willfully
and knowingly engaged in disorderly and disruptive conduct within the United States Capitol
Grounds and in any of the Capitol Buildings with the intent to impede, disrupt, and disturb the

orderly conduct of a session of Congress or either House of Congress, and the orderly conduct in
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that building of a hearing before or any deliberation of, a committee of Congress or either House

of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States
Code, Section 5104(e)(2)(D))

COUNT FIVE

On or about January 6, 2021, in the District of Columbia, HATCHET SPEED, willfully

and knowingly paraded, demonstrated, and picketed in any United States Capitol Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G))

A TRUE BILL:

FOREPERSON.

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Attorney of the United States in
and for the District of Columbia.
